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United States Court of Appeals

FIFTH CIRCUIT
OFFICE OF THE CLERK

LYLE W, CAYCE TEL. 504-310-7700
CLERK 600 S. MAESTRI PLACE,
Suite 118

NEW ORLEANS, LA 70130

August 18, 2021
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW: Ds pe AF a ey
SEWED

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No. 21-10806 State of Texas v. Biden
USDC No. 2:21-CV-67

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Enclosed is an order entered in this case. CLERK, US. DISTRICTS
| NORTHERN DISTRICT OF oer
SATEEN DISTRICT OF TEXAS |

Sincerely,

LYLE W. CAYCE, Clerk

By:
Charles B. Whitney, Deputy Clerk
504-310-7679

Mrs. Blaine Bookey

Mr. Joseph Anton Darrow

Ms. Karen S. Mitchell

Mr. Erez Reuveni

Mr. Dean John Sauer

Mr. Brian Walters Stoltz
Mr. William Thomas Thompson
Mr. Brian Christopher Ward
Mr. Cody Wofsy

